                             IN THE UNITED STATES DISTRICT COURT
1                            FOR THE NORTHERN DISTRICT OF IOWA
2
                                                       §
3    Jeffrey Scott,                                    §
                                                       §
4                          Plaintiff,                  §      Civil Action No.
                                                       §
5         v.                                           §
                                                       §
6    MoneyGram Payment Systems, Inc.,                  §      Jury Trial Demanded
                                                       §
7
                           Defendant.                  §
                                                       §
8
                                                       §
9
                                              COMPLAINT
10
            Jeffrey Scott (Plaintiff), by and through his attorneys, Kimmel & Silverman, P.C.,
11
     alleges the following against MoneyGram Payment Systems, Inc. (Defendant):
12
                                             INTRODUCTION
13

14
            1.        Plaintiff’s Complaint is based on the Telephone Consumer Protection Act

15   (“TCPA”), 47 U.S.C. §227, et seq.

16                                      JURISDICTION AND VENUE

17          2.        This Court has subject-matter jurisdiction over the TCPA claims in this action

18   under 28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising
19
     under the laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87
20
     (2012) (confirming that 28 U.S.C. § 1331 grants the United States district courts federal-
21
     question subject-matter jurisdiction to hear private civil suits under the TCPA).
22
            3.        This Court has personal jurisdiction over Defendant because Defendant conducts
23
     business in the State of Iowa and because the occurrences from which Plaintiff’s cause of action
24
     arises took place and caused Plaintiff to suffer injury in the State of Iowa.
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               Case 1:21-cv-00059-LTS-KEM Document 1 Filed 06/15/21 Page 1 of 7
                                          PLAINTIFF’S COMPLAINT
            4.     Venue is proper under 28 U.S.C. § 1391 (b)(2).
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                                               PARTIES
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3
            5.     Plaintiff is a natural person residing in Cedar Rapids, Iowa 52402.

4           6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

5           7.     Defendant is a business entity with principal place of business, head office, or

6    otherwise valid mailing address at 2828 North Harwood Street. Dallas, Texas 75201.
7           8.     Defendant is a “person” as that term is defined by 47 U.S.C. § 153(39).
8
            9.     Defendant acted through its agents, employees, officers, members, directors,
9
     heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and/or
10
     insurers.
11
                                       FACTUAL ALLEGATIONS
12

13          10.    Plaintiff has a cellular telephone number ending in 7225.

14          11.    Plaintiff has only used this cellular telephone number for residential purposes.

15          12.    Defendant sent text messages to Plaintiff on his cellular telephone beginning in

16   or around November 2020 regarding services to send/receive money.
17          13.    Defendant did not have Plaintiff’s consent to text Plaintiff on his cellular
18
     telephone number.
19
            14.    Plaintiff did not request information from Defendant regarding its services.
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            15.    Plaintiff’s telephone number ending in 7225 has been on the Do Not Call
21
     Registry since August 20, 2010.
22
            16.    Upon information and belief, when contacting Plaintiff, Defendant used a dialing
23
     system which had the capacity to store or call/text phone numbers using a random or sequential
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25
     number generator.



                                                   -2-
            Case 1:21-cv-00059-LTS-KEM Document 1 Filed 06/15/21 Page 2 of 7
                                        PLAINTIFF’S COMPLAINT
            17.    Upon information and belief, Defendant maintains a stored list of 10 digit
1
     telephone numbers of consumers in its database for communication purposes.
2

3
            18.    Upon information and belief, Defendant utilize a “predictive dialing system”

4    which interfaces with software and databases which have the capacity to generate numbers

5    randomly or sequentially.

6           19.    The dialing system used by Defendant call/text phone numbers stored in those
7    databases.
8
            20.    Accordingly, Defendant’s dialing systems have the capacity to dial numbers
9
     using a random or sequential number generator.
10
            21.    Upon information and belief, Defendant’s dialing systems include equipment
11
     which dials from the stored list of 10 digit consumer telephone numbers.
12
            22.    Defendant’s dialing systems employ computer code and/or algorithms which
13
     result in it randomly or sequentially generating numbers in order to select and dial the stored
14
     10-digit consumer telephone number from the list.
15

16          23.    Furthermore, Defendant’s dialing systems use computer code and/or algorithms

17   to determine the orders/sequence of calls/texts to be automatically dialed.

18          24.    The operation of the random/sequential number generator, referred to above

19   results in Defendant’s dialing system automatically placing calls/texts to the 10 digit telephone
20   numbers in Defendant’s stored list(s).
21
            25.    Plaintiff believes and avers that Defendant sent text messages to him with an
22
     automatic telephone dialing system.
23
            26.    While Plaintiff has not had the benefit of discovery, he intends to prove
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     Defendant utilized an automatic telephone dialing system in the course of discovery.
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                                                    -3-
            Case 1:21-cv-00059-LTS-KEM Document 1 Filed 06/15/21 Page 3 of 7
                                         PLAINTIFF’S COMPLAINT
             27.      Defendant’s texts were not made for “emergency purposes”.
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             28.      Plaintiff found Defendant’s repeated calls annoying, frustrating, upsetting,
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     harassing, and an invasion of his privacy.

4            29.      Upon information and belief, Defendants conduct business in a manner which

5    violates the Telephone Consumer Protection Act.

6

7                                        COUNT I
                         DEFENDANT VIOLATED THE TCPA 47 U.S.C. §227(b)
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9
                30.   Plaintiff incorporates the forgoing paragraphs as though the same were set forth

10   at length herein.

11              31.   The TCPA prohibits placing calls/texts using an automatic telephone dialing

12   system or automatically generated or prerecorded voice to a cellular telephone except where the

13   caller has the prior express consent of the called party to make such calls or where the call is
14
     made for emergency purposes. 47 U.S.C. § 227(b)(1)(A)(iii).
15
                23.   Defendant initiated multiple text messages to Plaintiff’s cellular telephone
16
     number using an automatic telephone dialing system.
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                24.   The dialing system used by Defendant to text Plaintiff’s cellular telephone calls
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     telephone numbers without being prompted by human intervention before each call.
19
                25.   The dialing system used by Defendant to text Plaintiff has the present and/or
20
     future capacity to dial numbers in a random and/or sequential fashion.
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22              26.   Defendant’s calls were not made for “emergency purposes.”

23              27.   Defendant’s texts to Plaintiff’s cellular telephone were without any prior express

24   consent.

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                Case 1:21-cv-00059-LTS-KEM Document 1 Filed 06/15/21 Page 4 of 7
                                          PLAINTIFF’S COMPLAINT
            28.     Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do
1
     Not Call Registry since August 20, 2010.
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3
            29.     Defendant’s acts as described above were done with malicious, intentional,

4    willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the

5    purpose of harassing Plaintiff.

6           30.     The acts and/or omissions of Defendant were done unfairly, unlawfully,
7    intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal
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     defense, legal justification or legal excuse.
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            31.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
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     and damages as set forth above entitling Plaintiff to an award of statutory, actual and treble
11
     damages.
12
                                         COUNT II
13                       DEFENDANT VIOLATED THE TCPA 47 U.S.C. § 227(c)
14
            32.     Plaintiff incorporates the forgoing paragraphs as though the same were set forth
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     at length herein.
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            33.     The TCPA prohibits any person or entity of initiating any telephone solicitation
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     to a residential telephone subscriber who has registered their telephone number on the National
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     Do-Not-Call Registry of persons who do not wish to receive telephone solicitations that is
19
     maintained by the Federal Government. 47 U.S.C. § 227(c).
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            34.     Defendant contacted Plaintiff despite the fact that Plaintiff has been on the Do
21

22   Not Call Registry since August 20, 2010.

23          35.     Defendant texted Plaintiff on multiple occasions during a single calendar year

24   despite Plaintiff’s registration on the Do Not Call list.

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                                                      -5-
            Case 1:21-cv-00059-LTS-KEM Document 1 Filed 06/15/21 Page 5 of 7
                                          PLAINTIFF’S COMPLAINT
            36.     Defendant’s acts as described above were done with malicious, intentional,
1
     willful, reckless, wanton and negligent disregard for Plaintiff’s rights under the law and with the
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3
     purpose of harassing Plaintiff.

4           37.     The acts and/or omissions of Defendant were done unfairly, unlawfully,

5    intentionally, deceptively and fraudulently and absent bona fide error, lawful right, legal

6    defense, legal justification or legal excuse.
7           38.     As a result of the above violations of the TCPA, Plaintiff has suffered the losses
8
     and damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles
9
     damages.
10

11          Wherefore, Plaintiff, Jeffrey Scott, respectfully prays for judgment as follows:

12                  a.      All actual damages Plaintiff suffered (as provided under 47 U.S.C. §
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                            227(b)(3)(A));
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                    b.      Statutory damages of $500.00 per violative telephone call (as provided
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                            under 47 U.S.C. § 227(b)(3)(B));
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                    c.      Additional statutory damages of $500.00 per violative telephone call (as
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                            provided under 47 U.S.C. § 227(C);
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                    d.      Treble damages of $1,500.00 per violative telephone call (as provided
19
                            under 47 U.S.C. § 227(b)(3));
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21                  e.      Additional treble damages of $1,500.00 per violative telephone call (as

22                          provided under 47 U.S.C. § 227(c);

23                  f.      Injunctive relief (as provided under 47 U.S.C. § 227(b)(3) and (c); and

24                  g.      Any other relief this Honorable Court deems appropriate.
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                                                     -6-
            Case 1:21-cv-00059-LTS-KEM Document 1 Filed 06/15/21 Page 6 of 7
                                          PLAINTIFF’S COMPLAINT
                                    DEMAND FOR JURY TRIAL
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            Please take notice that Plaintiff, Jeffrey Scott, demands a jury trial in this case.
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3                                                 Respectfully submitted,

4    Dated: 06/15/2021                        By: /s/ Joel E. Fenton
                                                  Joel E. Fenton, Esq. AT0011280
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           Case 1:21-cv-00059-LTS-KEM Document 1 Filed 06/15/21 Page 7 of 7
                                        PLAINTIFF’S COMPLAINT
